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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                            Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

        DR. CRAIG WRIGHT’S NOTICE OF FILING DEPOSITION DESIGNATIONS

          In accordance with the Court’s Order Scheduling Trial and Order of Instructions Before

  Calendar Call [D.E. 476], Dr. Wright attaches to this notice his deposition designations for the

  depositions that have not been designated as confidential under the Court-ordered stipulated

  confidentiality agreement [D.E. 105.1]. An objection key is attached as Exhibit 1. Within the

  margins of the transcripts, Plaintiffs’ deposition designations correspond to the yellow highlights;

  Dr. Wright’s deposition designations correspond to the green highlights; Dr. Wright’s counter-

  designations correspond to the orange highlights; and Dr. Wright’s objections correspond to the

  red highlights. Errata sheets are included with the deposition transcripts where appropriate.

  Finally, where applicable, the transcripts have been redacted to reflect the confidentiality

  designations of both parties. Dr. Wright does not agree with all of Plaintiffs’ confidentiality

  designations and reserves his right to object to them.
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                                                          Respectfully submitted,

                                                          Attorneys for Dr. Craig Wright

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                                   CERTIFICATE OF SERVICE

         I certify that on June 26, 2020, I electronically filed this document with the Clerk of the

  Court using CM/ECF. I also certify that this document is being served today on all counsel of

  record by transmission of Notices of Electronic Filing generated by CM/ECF.

                                                               /s/ Whitney Lohr
                                                               WHITNEY LOHR




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